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JS 44 (Rev. 02/19)                                                         CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                             DEFENDANTS
         BET    INVESTMENTS, INC. and BT DRYDEN, LP
          PATIENT FIRST OF PENNSYLVANIA, INC.
                                                                                      GREAT
                                                                                      CHUBB NORTHNORTHERN
                                                                                                  AMERICA           INSURANCE COMPANY,
                                                                                      a corporation
    (b) County of Residence of First Listed Plaintiff              Montgomery
                                                                  Hartford, CT County County of Residence of First Listed Defendant Philadelphia Cty
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)
         DANIEL M. BROWN, ESQ., PO Box 2903, Hartford, CT 06104 (mailing address)
         10 Sentry Pkwy, Suite 301, Blue Bell, PA 19422 (physical address)
         215-274-1716
         215-274-1724
         215-274-1724



II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                        and One Box for Defendant)
’ 1    U.S. Government                ’ 3     Federal Question                                                                     PTF       DEF                                           PTF      DEF
         Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State         ’ 1       ’ 1       Incorporated or Principal Place       ’ 4
                                                                                                                                                                                             X       ’
                                                                                                                                                                                                     X4
                                                                                                                                                         of Business In This State

’ 2    U.S. Government                ’ 4
                                      X       Diversity                                              Citizen of Another State          ’ 2    ’    2   Incorporated and Principal Place    ’
                                                                                                                                                                                           X 5     ’ 5
         Defendant                              (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                     Citizen or Subject of a           ’ 3    ’    3   Foreign Nation                      ’ 6     ’ 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                             Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                             TORTS                                  FORFEITURE/PENALTY                         BANKRUPTCY                    OTHER STATUTES
’
X   110 Insurance                        PERSONAL INJURY                PERSONAL INJURY              ’ 625 Drug Related Seizure          ’ 422 Appeal 28 USC 158          ’ 375 False Claims Act
’   120 Marine                       ’   310 Airplane                 ’ 365 Personal Injury -              of Property 21 USC 881        ’ 423 Withdrawal                 ’ 376 Qui Tam (31 USC
’   130 Miller Act                   ’   315 Airplane Product               Product Liability        ’ 690 Other                               28 USC 157                       3729(a))
’   140 Negotiable Instrument                 Liability               ’ 367 Health Care/                                                                                  ’ 400 State Reapportionment
’   150 Recovery of Overpayment      ’   320 Assault, Libel &               Pharmaceutical                                                 PROPERTY RIGHTS                ’ 410 Antitrust
        & Enforcement of Judgment             Slander                       Personal Injury                                              ’ 820 Copyrights                 ’ 430 Banks and Banking
’   151 Medicare Act                 ’   330 Federal Employers’             Product Liability                                            ’ 830 Patent                     ’ 450 Commerce
’   152 Recovery of Defaulted                 Liability               ’ 368 Asbestos Personal                                            ’ 835 Patent - Abbreviated       ’ 460 Deportation
        Student Loans                ’   340 Marine                         Injury Product                                                     New Drug Application       ’ 470 Racketeer Influenced and
        (Excludes Veterans)          ’   345 Marine Product                 Liability                                                    ’ 840 Trademark                        Corrupt Organizations
’   153 Recovery of Overpayment               Liability                PERSONAL PROPERTY                         LABOR                     SOCIAL SECURITY                ’ 480 Consumer Credit
        of Veteran’s Benefits        ’   350 Motor Vehicle            ’ 370 Other Fraud              ’ 710 Fair Labor Standards          ’ 861 HIA (1395ff)               ’ 485 Telephone Consumer
’   160 Stockholders’ Suits          ’   355 Motor Vehicle            ’ 371 Truth in Lending                Act                          ’ 862 Black Lung (923)                 Protection Act
’   190 Other Contract                       Product Liability        ’ 380 Other Personal           ’ 720 Labor/Management              ’ 863 DIWC/DIWW (405(g))         ’ 490 Cable/Sat TV
’   195 Contract Product Liability   ’   360 Other Personal                 Property Damage                 Relations                    ’ 864 SSID Title XVI             ’ 850 Securities/Commodities/
’   196 Franchise                            Injury                   ’ 385 Property Damage          ’ 740 Railway Labor Act             ’ 865 RSI (405(g))                     Exchange
                                     ’   362 Personal Injury -              Product Liability        ’ 751 Family and Medical                                             ’ 890 Other Statutory Actions
                                             Medical Malpractice                                            Leave Act                                                     ’ 891 Agricultural Acts
        REAL PROPERTY                      CIVIL RIGHTS                PRISONER PETITIONS            ’ 790 Other Labor Litigation          FEDERAL TAX SUITS              ’ 893 Environmental Matters
’   210 Land Condemnation            ’   440 Other Civil Rights         Habeas Corpus:               ’ 791 Employee Retirement           ’ 870 Taxes (U.S. Plaintiff      ’ 895 Freedom of Information
’   220 Foreclosure                  ’   441 Voting                   ’ 463 Alien Detainee                 Income Security Act                  or Defendant)                   Act
’   230 Rent Lease & Ejectment       ’   442 Employment               ’ 510 Motions to Vacate                                            ’ 871 IRS—Third Party            ’ 896 Arbitration
’   240 Torts to Land                ’   443 Housing/                       Sentence                                                            26 USC 7609               ’ 899 Administrative Procedure
’   245 Tort Product Liability               Accommodations           ’ 530 General                                                                                             Act/Review or Appeal of
’   290 All Other Real Property      ’   445 Amer. w/Disabilities -   ’ 535 Death Penalty                  IMMIGRATION                                                          Agency Decision
                                             Employment                 Other:                       ’ 462 Naturalization Application                                     ’ 950 Constitutionality of
                                     ’   446 Amer. w/Disabilities -   ’ 540 Mandamus & Other         ’ 465 Other Immigration                                                    State Statutes
                                             Other                    ’ 550 Civil Rights                   Actions
                                     ’   448 Education                ’ 555 Prison Condition
                                                                      ’ 560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
’
X   1 Original           ’ 2 Removed from                 ’ 3         Remanded from             ’ 4 Reinstated or       ’ 5 Transferred from     ’ 6 Multidistrict                  ’ 8 Multidistrict
      Proceeding             State Court                              Appellate Court               Reopened                Another District             Litigation -                   Litigation -
                                                                                                                        (specify)                        Transfer                      Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                           28 U.S.C. § 1331; 28 U.S.C § 2201; 18 U.S.C. § 1391(a)
VI. CAUSE OF ACTION Brief description of cause:
                                          Declaratory     Judgment
                                          Declaratory Judgment seekingseeking    declaration
                                                                       declaration that Defendantthat  Defendant
                                                                                                  provide coverage toprovide
                                                                                                                      underlyingcoverage
                                                                                                                                 party.  to underlying party.
VII. REQUESTED IN     ’ CHECK IF THIS IS A CLASS ACTION                                                 DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                                  JURY DEMAND:         ’
                                                                                                                                                                        X Yes      ’ No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                             DOCKET NUMBER
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
        1/1
        3/08/2021
        1/28/2020
        1/162020
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                     APPLYING IFP                                      JUDGE                          MAG. JUDGE
                             Case 2:21-cv-01106-KSM
                                                UNITED Document   1 Filed
                                                       STATES DISTRICT    03/08/21 Page 2 of 11
                                                                       COURT
                                                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                          DESIGNATION FORM
                    (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

                        BET 200 Witmer Rd., Suite 200, Horsham, Montgomery Cty, PA 19044
Address of Plaintiff: ______________________________________________________________________________________________
                       BT Dryden,
                       BT  Dryden,LP,
                                    LP,200
                                         200  Dryden
                                            Dryden Rd,Rd,  Suite
                                                        Suite     2000,
                                                              2000,       Dresher,
                                                                     Dresher,       PA 19025
                                                                              PA 19025
                         1600 John F. Kennedy Blvd., Suite 500, Philadelphia, PA 19103
Address of Defendant: ____________________________________________________________________________________________
                                             200
                                             119  Dryden
                                                  Shoemaker
                                             119 Shoemaker  Road,
                                                           Road,    Dresher,
                                                                Road,   Pottstown,
                                                                 Pottstown,     PA 19025
                                                                            Montgomery Montgomery
                                                                                       County, PA County, PA
Place of Accident, Incident or Transaction: ___________________________________________________________________________


RELATED CASE, IF ANY:

Case Number: ______________________________                     Judge: _________________________________                     Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                         Yes                    No XX
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                        Yes                    No X
                                                                                                                                                          X
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier                           Yes                    No     X
       numbered case pending or within one year previously terminated action of this court?

4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                        Yes                    No X
       case filed by the same individual?

I certify that, to my knowledge, the within case             is /   X   is not related to any case now pending or within one year previously terminated action in
this court except as noted above.
       3/08/2021
       1/22/2020
       1/12020
DATE: __________________________________                     __________________________________________                            59638
                                                                                                                              ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                                Attorney I.D. # (if applicable)


CIVIL: (Place a √ in one category only)

A.            Federal Question Cases:                                                       B.   Diversity Jurisdiction Cases:

      1.     Indemnity Contract, Marine Contract, and All Other Contracts                 
                                                                                           X     1.    Insurance Contract and Other Contracts
      2.     FELA                                                                              2.    Airplane Personal Injury
      3.     Jones Act-Personal Injury                                                         3.    Assault, Defamation
      4.     Antitrust                                                                         4.    Marine Personal Injury
      5.     Patent                                                                            5.    Motor Vehicle Personal Injury
      6.     Labor-Management Relations                                                        6.    Other Personal Injury (Please specify): _____________________
      7.     Civil Rights                                                                      7.    Products Liability
      8.     Habeas Corpus                                                                     8.    Products Liability – Asbestos
      9.     Securities Act(s) Cases                                                           9.    All other Diversity Cases
      10.    Social Security Review Cases                                                             (Please specify): ____________________________________________
      11.    All other Federal Question Cases
              (Please specify): ____________________________________________



                                                                            ARBITRATION CERTIFICATION
                                                  (The effect of this certification is to remove the case from eligibility for arbitration.)

I, ____________________________________________, counsel of record or pro se plaintiff, do hereby certify:

             Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
              exceed the sum of $150,000.00 exclusive of interest and costs:

             Relief other than monetary damages is sought.


DATE: __________________________________                                   Sign here if applicable
                                                             __________________________________________                       ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                               Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 (5/2018)
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BET INVESTMENTS, INC. and
BT DRYDEN, LP


GREAT NORTHERN INSURANCE COMPANY,
a corporation




                                                                                 X



                               Daniel M. Brown
      03/08/2021                                         Plaintiff



      215-274-1716                  215-833-4262         dbrown9@travelers.com
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                IN THE UNITED STATES DISTRICT COURT FOR
                 THE EASTERN DISTRICT OF PENNSYLVANIA
________________________________________________________________________


 BET INVESTMENTS, INC and                    :
 BT DRYDEN, LP,                              :
                                             :       NO.
                        Plaintiffs,          :
                                             :
 vs.                                         :
                                             :
 GREAT NORTHERN INSURANCE                    :
 COMPANY, a corporation                      :
                                             :
                        Defendant.           :


                     COMPLAINT FOR DECLARATORY JUDGMENT
       Plaintiffs, BET Investments, Inc. (“BET”) and BT Dryden, LP (“BT Dryden”)

 (collectively, the “BET Plaintiffs”), by and through counsel, Daniel M. Brown, Esquire and

 William J. Ferren and Associates, hereby files its Complaint for Declaratory Judgment averring

 as follows:

                                      INTRODUCTION

       1.       This complaint is filed pursuant to the Declaratory Judgment Act, 28 U.S.C. §

2201, and Rule 57 of the Federal Rules of Civil Procedure.

       2.        In this action, BET Plaintiffs seeks a declaration that Defendant, Great Northern

Insurance Company (“Great Northern”), was obligated to defend and indemnify BET Plaintiffs

in connection with an underlying bodily injury action, entitled Rosanna Luchin and Jonathan

Luchin vs. BT Dryden, LP; BT Dryden GP, LLC and BET Investments, Inc., Case Number 2019-

04121 (“Luchin suit”) brought in the Court of Common Pleas of Montgomery County,

Commonwealth of Pennsylvania (“Underlying Action”) and due to its breach of that obligation,
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must reimburse The Charter Oak Fire Insurance Company (“Charter Oak”) for all defense and

indemnity costs incurred on behalf of BET Plaintiffs in the Underlying Action.

       3.        BET is a Pennsylvania corporation, organized and existing under the laws of the

Commonwealth of Pennsylvania with a registered business address at 200 Witmer Rd., Suite 200,

Horsham, Montgomery County, Pennsylvania, 19044.

       4.        BT Dryden, LP is a limited liability partnership formed in the Commonwealth

of Pennsylvania with its principal place of business address is 200 Dryden Road, Suite 2000,

Dresher, PA 19025.

       5.        Great Northern is a New Jersey corporation, organized and existing under the

laws of the State of New Jersey with a registered business address at 1600 John F. Kennedy Blvd.,

Suite #500, Philadelphia County, Pennsylvania, 19103 and is engaged in the business of issuing

policies of liability in this Commonwealth.

       6.        At all times relevant hereto, Defendant Great Northern regularly conducts

business in Montgomery County, Pennsylvania.

       7.        In the Luchin suit, Plaintiff Rosanna seeks relief in an amount in excess of

$75,000, having made a demand of $250,000.00.

                                 JURISDICTION AND VENUE

       8.        This Court has jurisdiction over this action under 28 U.S.C. § 1331 because the

amount in controversy exceeds $75,000, exclusive of interest and costs.

       9.        This Court also has jurisdiction pursuant to the Declaratory Judgment Act, 28

U.S.C. § 2201.

       10.       Venue is proper in this judicial district under 28 U.S.C. § 1391(a) because a

substantial part of the acts and omissions giving rise to this action occurred in this district.




                                                   2
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       11.        At all times relevant hereto, Defendant Great Northern regularly conducted

business in the County of Montgomery, Pennsylvania, located in this district.

                                    BACKGROUND FACTS

       12.        At all times relevant herein, BT Dryden owned the premises located at 200

Dryden Road, Dresher, Pennsylvania, 19025, BT Dryden purchased the property and was the

successor to Montgomery Corporate Center, Inc.; which property was the subject of the Luchin

suit, described below. A true and correct copy of the Assignment of Leases is attached hereto

as Exhibit “A”.

       13.        At all times relevant herein, Ascensus, Inc. (“Ascensus”) is a tenant under the

Amended and Restated Lease Agreement between Montgomery Corporate Center, Inc. and

Ascensus, Inc., effective January 31, 2013, operates the cafeteria, and is responsible for the

maintenance of the area where the incident occurred. A true and correct copy of the Amended

and Restated Lease Agreement is attached hereto as Exhibit “B”.

       14.        At all times relevant herein, upon information and belief, under Section 10.1 of

the Amended and Restated Lease Agreement – Tenant Insurance, Ascensus is to name the

Landlord and Property Manager as Insureds on a primary basis for any loss arising from the use

or occupancy of the premises.

       15.        At all times relevant herein, BET acted as a property manager of property listed

in the Luchin suit located at 200 Dryden Rd., Dresher, Pennsylvania, 19025.

       16.        At all times relevant herein, BET and Branch Valley Services (“Branch Valley”)

entered into a certain Letter of Agreement, dated September 5, 2017, where Branch Valley acted

as a contractor of real estate located at 200 Dryden Rd., Dresher, Pennsylvania, 19025. A true

and correct copy of the Snow Removal Contract is attached hereto as Exhibit “C”.




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       17.      At all times relevant herein, upon information and belief, Great Northern issued

a certain policy to its named insured, Ascensus. A true and correct copy of the policy is attached

hereto as Exhibit “D”.

       18.      At all times relevant herein, upon information and belief, per the Great Northern

policy, Plaintiffs are deemed “an insured” per the “Who is an Insured – Lessors of Premises”

section, “Persons or organizations from whom you lease premises are Insureds only with respect

to the ownership, maintenance or use of that particular part of such premises leases to you and

only if you are contractually obligated to provide them with such insurance as is afforded by this

contract.”

       19.      At all times relevant herein, Charter Oak issued a certain policy, YO630-

526D2290, to its named insured BET, effective June 30, 2017 to June 30, 2018.

                                     UNDERLYING SUIT

       20.      On March 8, 2018, Rosanna Luchin and Jonathan Luchin (“Luchin Plaintiffs”)

filed a Complaint against BT Dryden LP, BT Dryden GP, LLC, and BET Investments, Inc., in

the Court of Common Pleas of Montgomery County, State of Pennsylvania, Docket No. 2019-

04121 (“Luchin suit”). A true and correct copy of the Complaint is attached hereto as Exhibit

“E”.

       21.      The Complaint alleges that on or about December 19, 2017, Plaintiff Rosanna

Luchin (“Rosanna”) was on the premises located at 200 Dryden Rd., Suite 200, Dresher,

Pennsylvania as an employee of American Realty Capital (“ARC”), a tenant in the building when

she was walking in the hallway to the cafeteria and was caused to slip and fall due to a hazardous

condition and sustaining severe and permanent injuries. See Exhibit “E” at ¶¶12.

       22.      The accident allegedly caused Rosanna to sustain severe and permanent injuries,



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including, without limitation, right radial neck fracture, right wrist DRUJ injury, significant

amount of pain, muscle weakness, decreased range of motion and decreased strength to her right

shoulder, elbow, wrist and hand; injury to her knee; and other soft tissue and related injuries, pain

and suffering. See Exhibit “E” at ¶¶16.

       23.       Count I of the Luchin Complaint is brought against all Defendants sounding in

negligence and seeking to recover damages for Plaintiff’s injuries. It is alleged that all Defendants

were responsible for the maintenance, care, supervision, repair and oversight of the premises. See

Exhibit “E” at ¶¶13-21.

       24.       Count II of the Luchin Complaint is brought against all Defendants by Plaintiff

Jonathan Luchin sounding in loss of consortium and seeking to recover damages for Plaintiff

Rosanna’s injuries. It is alleged that as a direct and proximate result of Defendants’ negligence,

Jonathan Luchin has lost the consortium, society, companionship and services of his spouse,

Rosanna. See Exhibit “E” at ¶¶22-23.

       25.       On or about January 14, 2020, the Plaintiffs filed an Amended Complaint adding

Ascensus, Inc as a named Defendant. A true and correct copy of Amended Complaint is attached

hereto as Exhibit “F”.

       26.       Charter Oak, as insurer for BET, has expended in excess of $13,375.23 to date

in connection with the defense of the Luchin suit, which includes but is not limited to, attorneys’

fees, costs and expenses.

                             TENDER TO GREAT NORTHERN

       27.     On or around December 10, 2019, Charter Oak, on behalf of Plaintiffs, by email to

Ascensus’ attorney, tendered the defense and indemnity of the Luchin suit to Ascensus. A true

and correct copy of the tender letter is attached hereto as Exhibit “G”.


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       28.        On January 7, 2020, Charter Oak, by email to Ascensus’ attorney requesting the

status on the tender request.

       29.        On or about February 3, 2020, Charter Oak received verbal notice that Ascensus

has denied the tender request at this time.

       30.        On July 1, 2020, Charter Oak, called Great Northern and left a voicemail requesting

an update on the status of any negotiation, reason for tender denial.

       31.        On or about August 10, 2020, Charter Oak spoke with Great Northern

representative regarding the status and was told that it was pending information from Great

Northern defense counsel.

       32.        In or around September 2020 and October 2020, Charter Oak requested a copy of

Ascensus’ Great Northern policy.

       33.        To date there has been no response from Ascensus or Great Northern regarding our

tender request.

                           COUNT I – DECLARATORY JUDGMENT

       34.        Upon information and belief, BET Plaintiffs qualified as named insureds on the

Great Northern Policy.

       35.        Upon information and belief, the General Liability Coverage Form of the Great

Northern CGL states that the words “you” and “your” refer to the Named Insured shown in the

Declarations and any other person or organization qualifying as a Named Inured under this

contract. In addition to the Named Insured, other persons or organizations may qualify as

“Insureds”. Those persons or organizations and the conditions under which they qualify are

identified in the “Who is An Insured” section of this contract.

       36.        Upon information and belief, the Coverages section of the Great Northern CGL




                                                   6
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provides:

                a. We will pay damages that the Insured becomes legally obligated to pay by

                    reason of liability imposed by law or assumed in an insured contract for “bodily

                    injury” or “property damage” caused by an occurrence to which this coverage

                    applies. Damages for “bodily injury” includes damages claimed by a person or

                    organization for care or loss of services resulting at any time from the “bodily

                    injury.”

      37.       Upon information and belief, the Coverages section of the Great Northern CGL

            states: “Who is an Insured – Additional Insured – Schedule Person or Organization”…

            “Persons or organizations shown in the Schedule are Insureds…for activities that did

            not occur, in whole or in part, before the execution of the contract or agreement; and

            with respect to damages, loss, cost of expense for injury or damage to which this

            insurance applies.”

                                      BASIS FOR RELIEF

       38.      BET Plaintiffs realleges and incorporates herein by reference each and every

allegation contained in paragraph 1 through 37, inclusive, as though fully set forth herein.

       39.      Charter Oak tendered the Luchin suit, on behalf of BET Plaintiffs, to Great

Northern, asserting that Great Northern owed a duty to defend and indemnify BET Plaintiffs

under the Great Northern policy on a primary and non-contributory basis.

       40.      Upon information and belief, the terms of the Great Northern policy required that

Great Northern defend BET Plaintiffs as insureds under Section II of its policy.

       41.      Upon information and belief, under the Great Northern CGL policy, BET

Plaintiffs qualifies as “insureds” under the Conditions section “Other Insurance – Primary



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Insurance” states, “This insurance is primary except when the Excess Insurance…” it is further

believed that the Excess Insurance does not apply to BET Plaintiffs.

        42.    Great Northern had a duty to defend BET Plaintiffs as insureds under its policy

from the date of tender on December 10, 2019 and had a continuing duty to defend it in the Luchin

suit.

        43.    Great Northern has a duty to indemnify BET Plaintiffs with respect to the Luchin

suit.

        44.    A judicial declaration is necessary and appropriate at this time to determine the

respective rights and duties of the parties and to determine Great Northern responsibility for BET

Plaintiffs’ defense fees and costs, and the settlement amount with respect to the Luchin suit.

                                    PRAYER FOR RELIEF

         WHEREFORE, for the reasons set forth above, BET prays that the Court find and

 declare that Great Northern owes BET Plaintiffs the duty to defend and duty to indemnify it in

 the Luchin suit on a primary and non-contributory basis.

                                      WILLIAM J. FERREN & ASSOCIATES

                                              //s//   Daniel M. Brown
                                      BY:______________________________
                                            Daniel M. Brown
                                            Attorney for plaintiffs
                                            Atty ID #: 59638
                                            PO Box 2903
                                            Hartford, CT 06104
                                            215-274-1716
                                            Dbrown9@travelers.com




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